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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,

 Plaintiff,
                                                        CRIMINAL NO. 11-345 (DRD)
               v.

 JEREMY OLMEDA-JIMENEZ [17],

 Defendant.


                         REPORT AND RECOMMENDATION

       Defendant Jeremy Olmeda-Jiménez was charged in Counts One through Five of an

Indictment and he agreed to plead guilty to Count One of the Indictment. Count One charges

that, beginning on a date unknown, but not later than in or about 2008, an continuing up to

and until the return of the instant indictment in the Municipality of Ceiba, in the District of

Puerto Rico, elsewhere, and within the jurisdiction of this Court, the defendant herein, did

knowingly and intentionally combine, conspire and agree with each other and with diverse

other persons known and unknown to the Grand Jury, to commit an offense against the United

States, that is: to possess with intent to distribute one (1) kilogram or more of a mixture or

substance containing a detectable amount of heroin, a Schedule I Narcotic Drug Controlled

Substance; two-hundred and eighty (280) grams or more of a mixture or substance

containing a detectable amount of cocaine base (“crack”), a Schedule II Narcotic Drug

Controlled Substance; five (5) kilograms or more of a mixture or substance containing a

detectable amount of cocaine, a Schedule II Narcotic Drug Controlled Substance; a

measurable amount of a mixture or substance containing a detectable amount of marijuana,

a Schedule I Controlled Substance; a mixture or substance containing a detectable amount

of Oxycodone (commonly known as Percocet), a Schedule II Controlled Substance; and a

mixture or substance containing a detectable amount of Alprazolam (commonly known as

Xanax), a Schedule IV Controlled Substance, all within one thousand (1,000) feet of the real
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property comprising a housing facility owned by a public housing authority, that is, the

Jardines de Ceiba Public Housing Project and other areas within the Municipality of Ceiba,

Puerto Rico. All in violation of Title 21, United States Code, Sections 846, 841(a)(1) and 860.

         On December 9, 2011, defendant appeared before this Magistrate Judge, since the

Rule11 hearing was referred by the Court. Defendant was provided with a Waiver of Right to

Trial by Jury, which he signed and agreed upon voluntarily after examination in open court,

under oath.

         Defendant indicated and confirmed his intention to plead guilty to Count One of the

Indictment, upon being advised of his right to have said proceedings before a district judge of

this court.1 Upon verifying through defendant’s statement his age, education and any relevant

aspect as to the use of medication, drugs, alcohol or substance dependency, and psychological

or psychiatric condition, to ascertain his capacity and ability to understand, answer and

comprehend the interactive colloquy with this Magistrate Judge, a determination was made

as to defendant’s competency and ability to understand the proceedings.

         Having further advised defendant of the charges contained in above-stated Count One,

he was examined and verified as being correct that: he had consulted with his counsel, Olga

M. Shepard-De-Mari, prior to the hearing for change of plea, that he was satisfied with the

services provided by his legal representative and had time to discuss with her all aspects of the

case, insofar, among other things, regarding the change of plea, the consent to proceed before

a United States Magistrate Judge, the content of the Indictment and the charges therein, his

constitutional rights and the consequences of the waiver of same.




         1
           The form entitled Consent to Proceed Before a United States Magistrate Judge in a Felony Case for Pleading
Guilty (Rule 11, Fed.R.Crim.P.) and Waiver of Jury Trial, signed and consented by both parties is made part of the record.
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        Defendant was specifically apprised by this Magistrate Judge that, upon withdrawing

his initial plea of not guilty and now entering a plea of guilty to the charge specified, he was

waiving his right to a public, speedy, and a trial by jury constituted by twelve jurors who have

to unanimously agree to a verdict. He was also waiving his right to be presumed innocent and

for the government to meet the obligation of establishing his guilt beyond a reasonable doubt.

Furthermore, he was waiving his right during said trial to confront the witnesses who were to

testify against him and be able to cross-examine them, through counsel at said trial, as well as

present evidence on his behalf. He was also waiving the right to compel the attendance of

witnesses and that subpoenas be issued to have them appear in court to testify. Defendant was

specifically apprised of his right to take the stand and testify, if he so decided, or not to testify,

and no inference or decision as to his guilt could be made from the fact if he decides not to

testify. Defendant was also explained his right not to incriminate himself; that upon such a

waiver of all above-discussed rights a judgment of guilty and his sentence were to be based on

his plea of guilty, and he would be sentenced by the judge after considering the information

contained in a pre-sentence report.

        As to all the above, defendant provided an individualized and positive acknowledgment

of each and every waiver and, with the assistance of his counsel, Attorney Shepard-De-Mari,

indicated he freely and voluntarily waived those rights and understood the consequences.

During all this colloquy, defendant was made aware that he could freely request from this

Magistrate Judge any additional clarification, repetition, or ask questions and that he may

consult with his attorney at any given time as to any issue.

        Defendant expressed his understanding of the penalties prescribed by statute for the

offenses as to which he was pleading guilty. The penalty for the offense charged in Count One
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is term of imprisonment of not less than ten (10) years and not more than life, a fine not to

exceed twenty million dollars ($20,000,000.00), and a term of supervised release of at least

ten (10) years, all pursuant to Title 21, United States Code, Section 841(b)(1)(A) and 860.

        However, based on the stipulated and agreed amount of narcotics possessed by the

defendant, that is, at least three point five (3.5) kilograms but less than five (5.0) kilograms of

cocaine, the penalty for the offense shall be a term of imprisonment of not less than five (5)

years no more than eighty (80) years, a fine not to exceed ten million dollars

($10,000,000.00) and a term of supervised release of at least eight (8) years, all pursuant to

Title 21, United States Code, Section 841(b)(1)(B) and 860.

        The Court must also impose a mandatory penalty assessment of one hundred dollars

($100.00), per count, to be deposited in the Crime Victim Fund.

        Having ascertained directly from defendant that he had not been induced in any way

to plead guilty, that no one had forced him in any way to plead guilty, nor that he had been

offered any reward or any other thing of value to get him to plead guilty, the document entitled

“Plea Agreement” pursuant to Rule 11(c)(1)(A) & (B) FRCP (“the Agreement”) and the “Plea

Agreement Supplement”2 were shown to defendant, verifying his signature and initials on each

and every page.

        Pursuant to said Agreement, and insofar as Count One, as to which defendant already

was aware of the maximum possible penalties, defendant was apprised that it was up to the

sole discretion of the sentencing court what the sentence to be imposed on him will be.

Defendant was specifically informed that if the sentencing court were to impose a sentence




        2
            Defendant acknowledged discussing the “Plea Agreement Supplement” with his counsel and stated he
understood the terms and consequences of the same. Defense counsel recognized she explained to defendant the content
of the “Plea Agreement Supplement” and explained to defendant its consequences.
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which turned out to be higher or more severe than the one he might be expecting, for said

reason alone, defendant would have no grounds for the court to allow him to withdraw his plea

of guilty.

        The above-captioned parties’ estimate and agreement that appears on pages four (4)

and five (5), paragraph seven (7) of the Agreement, regarding the possible applicable advisory

Sentencing Guidelines, were further elaborated and explained. As to Count One, the Base

Offense Level is of Thirty (30) pursuant to U.S.S.G. § 2D1.1(5) (at least 3.5 kilograms but less

than 5 kilograms of cocaine). Pursuant to U.S.S.G. § 2D1.2(a)(1), a two (2) level increase is

agreed for protected location. Pursuant to U.S.S.G. § 3E1.1(a), a three (3) level decrease is

agreed for acceptance of responsibility. Therefore, the Total Offense Level is of Twenty-Nine

(29), yielding an imprisonment range of eighty-seven (87) to one hundred and eight (108)

months if the Criminal History Category is I; ninety-seven (97) to one hundred and twenty-

one (121) months if the Criminal History Category is II; one hundred and eight (108) to one

hundred and thirty-five (135) months if the Criminal History Category is III; one hundred

and twenty-one (121) to one hundred and fifty-one (151) months if the Criminal History

Category is IV; one hundred and forty (140) to one hundred and seventy-five (175) months

if the Criminal History Category is V; and one hundred and fifty-one (151) to one hundred

and eighty-eight (188) months if the Criminal History Category is VI.

        The parties agree that the defendant will recommend to the Court to be sentenced

to serve a term of imprisonment of eighty-seven (87) months if his Criminal History

Category is I or to the lower end of the applicable guideline range if his Criminal History

Category is higher.         The United States reserves the right to argue for a term of

imprisonment at the upper end of the applicable guideline range.
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        The parties understand that the Court is not bound by the recommendation and that

the Court, after consideration fo the factors contemplated within the U.S.S.G. and Title 18,

United States Code, Section 3553 et seq., may sentence the defendant to any amount of time

up to and including the statutory maximum for the offense to which he plead, and that such

a sentence will not invalidate this agreement.

        There parties do not stipulate any assessment as to the defendant’s Criminal History

Category.

        The United States and the defendant agree that no further adjustments or departures

to the defendant’s base offense level shall be sought by the parties. Any request by the

defendant for a sentence below the agreed upon term of one eighty-seven (87) months or for

an adjustment or departure shall constitute a material breach of this plea agreement.

        At sentencing, the United States agrees to recommend a dismissal of the remaining

counts against the defendant.

        As part of the written Agreement, the government, the defendant, and his counsel also

agreed they are aware that the Sentencing Guidelines are no longer mandatory and are thus

considered advisory.

        The government presented to this Magistrate Judge and to defendant, assisted by

his counsel, a summary of the basis in fact for the offenses charged and the evidence the

government had available to establish, in the event defendant had elected to go to trial, the

commission of the offense, beyond a reasonable doubt.                Counsel and defendant

acknowledged the evidence of the government was fully disclosed to them and previously

discussed between the two. Defendant was also read and shown a document entitled

“Stipulation of Facts”, which had been signed by defendant and his counsel and is attached

to the Agreement, wherein the signature of counsel for the government also appears.
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Defendant was able to understand the explanation and agreed with the government’s

submission.

        Defendant was explained that the Agreement with the government does not bind any

other district, except the district of Puerto Rico, and it contained all the promises, terms and

conditions which defendant, his attorney and the government, have entered.

        Defendant was informed that he can appeal his conviction if he believes that his guilty

plea was somehow unlawful or involuntary or if there is some other fundamental defect in the

proceedings which was not waived by his guilty plea. Defendant was also informed that he

has a statutory right to appeal his sentence under certain circumstances particularly if the

sentence is contrary to law. With few exceptions, any notice of appeal must be filed within

fourteen (14) days of judgment being entered in the case. Defendant was also apprised the

right to appeal is subject to certain limitations allowed by law because his Plea Agreement

contains a waiver of appeal in paragraph nineteen (19) which was read to defendant in open

court. Defendant recognized having knowledge of the waiver of appeal, discussing the same

with his counsel and understanding its consequences. Defense counsel acknowledged

discussing the waiver of appeal and its consequences with his client.

        Defendant waived the reading of the Indictment in open court because he is aware

of its content, indicating he availed himself of the opportunity to further discuss same with

his attorney and then he positively stated that what was contained in Count One, and was

what he had done and to which he was pleading guilty during these proceedings. Thereafter,

defendant expressed in no uncertain terms that he agreed with the government’s evidence as

to his participation in the offense. Thereupon, defendant indicated he was pleading guilty to

Count One of the Indictment in Criminal No. 11–345 (DRD).
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        This Magistrate Judge after having explained to the defendant his rights, ascertaining

that he was acting freely and voluntarily to the waiver of such rights and in his decision of

pleading guilty, with full knowledge of the consequences thereof, and there being a basis in fact

for such a plea, is recommending that a plea of guilty be entered as to Count One of the

Indictment in Criminal No. 11-345 (DRD).

        IT IS SO RECOMMENDED.

        The sentencing hearing will be set promptly, before Honorable Daniel R. Domínguez,

District Court Judge.

        San Juan, Puerto Rico, this 9th day of December of 2011.



                                                   s/ CAMILLE L. VELEZ-RIVE
                                                   CAMILLE L. VELEZ-RIVE
                                                   UNITED STATES MAGISTRATE JUDGE
